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17

18
                            IN THE UNITED STATES DISTRICT COURT
19                         THE NORTHERN DISTRICT OF CALIFORNIA
20                                    SAN JOSE DIVISION

21
     NETCHOICE, LLC d/b/a NetChoice,
22
                  Plaintiff,
23                                               Case No. 5:22-cv-08861-BLF
           v.
24                                               JOINT STIPULATION TO AMEND
     ROB BONTA, ATTORNEY GENERAL OF              COMPLAINT
25   THE STATE OF CALIFORNIA, in his official
     capacity,
26
                  Defendant.
27

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     JOINT STIPULATION TO AMEND COMPLAINT
     Case No. 5:22-cv-08861-BLF
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 1              Plaintiff NetChoice, LLC and Defendant Rob Bonta of the State of California stipulate as
 2   follows:
 3              1.     NetChoice filed this lawsuit against the State on December 14, 2022, challenging
 4   the California Age-Appropriate Design Code Act as unconstitutional and preempted by federal
 5   statute.
 6              2.     On February 17, 2023, NetChoice moved for a preliminary injunction to enjoin
 7   enforcement of the Act.
 8              3.     This Court granted NetChoice’s first motion for a preliminary injunction on
 9   September 18, 2023.
10              4.     The State appealed. On August 16, 2024, the Ninth Circuit affirmed in part and
11   vacated in part the preliminary injunction, remanding for further consideration whether the Act’s
12   remaining provisions survive NetChoice’s challenges.
13              5.     Because the State has not yet filed a responsive pleading, NetChoice plans to
14   exercise its right to amend the Complaint pursuant to Federal Rule of Civil Procedure 15(a)(1)(B)
15   to specify the exact forms of relief it seeks in advance of its forthcoming Second Motion for
16   Preliminary Injunction.
17              6.     Pursuant to the Court’s instruction at the September 19, 2024 status conference to
18   have that Amended Complaint enter the record via joint stipulation, NetChoice met and conferred
19   with the State on October 24, 2024 and October 30, 2024.
20              7.     The State, having reviewed the Amended Complaint, consents to its filing.
21              8.     The parties thus jointly and respectfully request the Court enter the Amended
22   Complaint (attached as Ex. 1) on the docket.
23

24    DATED: October 31, 2024                            Respectfully submitted,
                                                         DAVIS WRIGHT TREMAINE LLP
25
                                                         By: /s/ Adam S. Sieff
26                                                               Adam S. Sieff
27                                                       Attorneys for Plaintiff
                                                         NetChoice LLC, d/b/a NetChoice
28

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 1
     DATED: October 31, 2024                  Respectfully submitted,
 2
                                              ROB BONTA
 3                                            Attorney General of California
                                              ANYA M. BINSACCA
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                                              Supervising Deputy Attorney General
 5

 6                                            By: /s/ Kristin Liska
                                                 KRISTIN A. LISKA
 7                                               Deputy Attorney General
 8                                            Attorneys for Defendant

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 1                      CERTIFICATION OF SERVICE AND COMPLIANCE
 2          I, Adam S. Sieff, hereby certify that pursuant to N.D. Cal. Civil L.R. 5-1(h)(3), I have
 3   obtained authorization from the above signatories to file the above-referenced document and that
 4   they have concurred in the filing’s content. I further certify that I have served all parties with the
 5   foregoing by electronic service through the Court’s ECF system.
 6

 7   Dated: October 31, 2024
 8                                                       Respectfully submitted,
 9                                                       DAVIS WRIGHT TREMAINE LLP
10
                                                         By:    /s/ Adam S. Sieff
11                                                                 Adam S. Sieff
12                                                       Attorneys for Plaintiff
                                                         NetChoice, LLC d/b/a NetChoice
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